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10                       UNITED STATES DISTRICT COURT
11
                       CENTRAL DISTRICT OF CALIFORNIA
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                                             Case No.: 8:19-cv-00909-JLS-DFM
14     YUNG-HUI CHEN, on behalf of herself
       and all others similarly situated,
15      PLAINTIFFS,
                                             FINAL JUDGMENT
16

17     vs.
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19     WESTERN DIGITAL
       CORPORATION AND WESTERN
20     DIGITAL TECHNOLOGIES, INC.,
       DEFENDANTS.
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 1            Plaintiff’s Motion For Final Approval Of Class Action Settlement and
 2     Plaintiff’s Motion For Attorneys’ Fees, Reimbursement Of Expenses, And Service
 3     Award were heard telephonically on November 20, 2020 at or about 10:30 a.m. in
 4     the above-entitled Court. On January 6, 2021, the Court issued an order (see “Final
 5     Approval Order,” Doc. 90), (1) Granting Plaintiff’s Motion For Final Approval Of
 6     Class Action Settlement (Doc. 87) and (2) Granting In Part Plaintiff’s Motion For
 7     Award Of Attorneys’ Fees, Costs, And Service Payment (Doc. 79). For the reasons
 8     stated in the Final Approval Order,
 9            IT IS HEREBY ORDERED, ADJUDGED, AND DECREED AS
10     FOLLOWS:
11            1.        The Court hereby grants final approval of the Agreement and finds and
12     holds that the class can be certified for settlement purposes and that the proposed
13     settlement is fair, reasonable, and adequate, for the reasons stated in the Final
14     Approval Order, (Doc. 90).
15            2.        Any term with initial capitalization that is not defined herein shall have
16     the meaning provided in the Agreement (see Doc. 87-2).
17            3.        The Court confirms that it has jurisdiction over this matter and the
18     parties to it.
19            4.        For purposes of this Judgment, the Court confirms its certification of
20     the Action pursuant to Rule 23(a), (b)(2), and (b)(3) of the Federal Rules of Civil
21     Procedure, as a class action, composed of the following individuals:
22            A. California Sub-Class. “California Sub-Class” means women directly
23                 employed by Western Digital Technologies, Inc., Western Digital
24                 (Fremont), LLC, and/or Western Digital Media, LLC in California in a
25                 Covered Position at any time from November 1, 2012 through the date of
26                 the Order Granting Preliminary Approval, (excluding those who became
27                 employed by Western Digital Corporation or an affiliated entity as a result
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 1                of or in connection with an acquisition on or after May 1, 2016), who do
 2                not opt out of the monetary relief provisions of the Settlement.
 3           B. Nationwide Sub-Class. “Nationwide Sub-Class” means women directly
 4                employed by Western Digital Technologies, Inc., Western Digital
 5                (Fremont), LLC, and/or Western Digital Media, LLC in a Covered
 6                Position as regular employees in the United States at any time from
 7                November 1, 2013 through the date of the Order Granting Preliminary
 8                Approval, (excluding those who became employed by Western Digital
 9                Corporation or an affiliated entity as a result of or in connection with an
10                acquisition on or after May 1, 2016), who do not opt out of the monetary
11                relief provisions of the Settlement, and excluding any member of the
12                California Sub-class.
13           5.       For purposes of this Judgment, the Court confirms its certification of
14     an EPA collective action, pursuant to 29 U.S.C. § 216(b), composed of the following
15     individuals:
16           A. Collective Action Plaintiffs. “Collective Action Plaintiffs” means women
17                directly employed by Western Digital Technologies, Inc., Western Digital
18                (Fremont), LLC, and/or Western Digital Media, LLC in a Covered Position
19                in the United States at any time from November 1, 2013 through the date
20                of the Order Granting Preliminary Approval (excluding those who became
21                employed by Western Digital Corporation or an affiliated entity as a result
22                of or in connection with an acquisition on or after May 1, 2016) and who
23                opt into the EPA action and settlement by negotiating an EPA Settlement
24                Check and accepting the release of claims under the EPA. Individuals who
25                are sent Notice of the settlement but do not timely negotiate a check
26                representing EPA Settlement Consideration will be deemed no longer to
27                be Collective Action Plaintiffs.
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 1           6.     For purposes of this Judgment, the Court confirms its appointment of
 2     its appointment of David Sanford and Felicia Medina as Lead Class Counsel and
 3     Class Counsel respectively, and its appointment of Plaintiff Chen as Class
 4     Representative.
 5           7.     The Amended Collective And Class Action Settlement Agreement and
 6     the Addendum To Amended Collective And Class Action Settlement Agreement
 7     (collectively, Exhibit A to the Declaration of David Sanford In Support Of Plaintiff’s
 8     Motion For Final Approval Of Class Action Settlement (Doc. 87-2)) shall be
 9     incorporated into this Judgment as though all terms therein are set forth in full.
10     Pursuant to that Agreement and, as Ordered by this Court:
11        A. Defendant will pay the Class Settlement Amount of $7,750,000 in the manner
12           set forth in the Settlement Agreement;
13        B. Defendant will implement the programmatic relief described in §3 of the
14           Agreement.
15        C. Class Counsel will receive attorneys’ fees of $2,382,510 and costs of
16           $123,499 from the Settlement Fund;
17        D. Settlement administration costs of $97,324 will be deducted from the
18           Settlement Fund and paid to the Settlement Administrator, Rust Consulting,
19           Inc.
20        E. $75,000 will be deducted from the Settlement Fund and paid to the California
21           Labor and Workforce Development Agency as the Agency’s portion of
22           PAGA penalties;
23        F. Plaintiff will receive a service award of $18,000 from the Settlement Fund for
24           her contribution to the litigation and her services to the Class;
25        G. The remainder of the Class Settlement Amount will be distributed to the
26           Plaintiff and Settlement Class Members according to the plan of allocation in
27           the Settlement;
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 1        H. The Court confirms its approval of the cy pres distribution provided for in the
 2           Settlement to Community Legal Aid SoCal and Legal Aid at Work.
 3        I. The Plaintiff and Settlement Class Members who did not exclude themselves
 4           are bound by the terms of the Agreement, including all releases therein, and
 5           their claims are dismissed with prejudice.
 6           8.     The Court finds that the Notice, and the distribution thereof, satisfied
 7     the requirements of due process and Federal Rule of Civil Procedure 23(e), that it
 8     was the best practicable under the circumstances, and that it constitutes due and
 9     sufficient notice to all persons entitled to the notice of the Agreement. The Court
10     further finds that the Settlement Class Members were given a fair and reasonable
11     opportunity to object to the settlement. Zero (0) Settlement Class Members objected
12     to the settlement. The five (5) Settlement Class Members who made valid and timely
13     requests for exclusion from the Class Action settlement, as well as the one (1) Class
14     Member who made an untimely request for exclusion from the Class Action
15     settlement, are excluded from the Settlement Class and are not bound by this order
16     with respect to Class claims. The two (2) Class Members who also timely excluded
17     themselves from the EPA payment are excluded from the certified EPA Collective
18     and not bound by this Judgment with respect to EPA claims.
19           9.     This Judgment is binding on all Settlement Class Members, except
20     those individuals who validly excluded themselves from the Settlement Class and
21     the Agreement.
22           10.    This action is dismissed with prejudice as to all other issues and as to
23     all parties and claims.
24           11.    Upon the Effective Date, the Releases defined in section 11.1 and 11.3
25     of the Settlement will bind all Class Members who have not requested exclusion
26     from the Class Settlement.
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 1           12.    Upon the Effective Date, the Releases defined in section 11.2 and 11.3
 2     of the Settlement will bind all Collective Action Members who negotiate their check
 3     for EPA settlement consideration.
 4           13.    This Judgment does not, and is not intended to constitute, nor shall it
 5     be deemed to constitute, an admission by any party as to the merits, validity, or
 6     accuracy of any of the allegations, claims, or defenses of any other party in this case.
 7     The Court has made no findings and expresses no opinion concerning the merits,
 8     validity, or accuracy of any of the allegations, claims, or defenses in this case.
 9           14.    Plaintiffs, including but not limited to the Class Representative, and all
10     Settlement Class Members, and anyone who purports to act on their behalf, shall not
11     bring, assert, or prosecute any claims, actions, or causes of action that assert any of
12     the released Claims against any of the Released Parties.
13           15.    The Parties are to bear their own costs, except as otherwise provided in
14     the Settlement Agreement and this Order.
15           16.    The Court retains continuing and exclusive jurisdiction over the parties
16     and all matters relating to this case, including administration, interpretation,
17     construction, effectuation, enforcement, and consummation of the settlement and
18     this Judgment, except insofar as the Settlement delegates matters to the Special
19     Master.
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21           It is so ORDERED.
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23     DATED: January 13, 2021
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                                        HON. JOSEPHINE L. STATON
                                        UNITED STATES DISTRICT JUDGE
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